Case 1:21-cv-00297-DCN Document1 Filed 07/16/21 Page 1 of 14

Pro Se | (Rev. 12/16) Complaint for a Civil Case

 

UNITED STATES DISTRICT COURT
for the
District of

Division

own 1-2RIZ-DEN)

{to he filled in by the Clerk's Office)

 

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Plaintifi{s)

If the names of all the plaintiffs cannot fil in the space above,
please write “see attached” in the space and attach an additional

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)
(Write the full name of each plaintiff who ts fling this complaint. ) Jury Trial: (check one) NM Yes [| No
)
page with the full list of names.) }

)

   

Defendant(s) )
(Write the full name af each defendant who is being sued. If the

hares of all the defendants cannot fit in the space above, please )
write “see attached” in the space and attach an additional page )
with the fill list of nantes.)

COMPLAINT FOR A CIVIL CASE

I The Parties to This Complaint
A. The Piaintiff(s) .

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed,

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City and County Na '

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The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation, For an individual defendant,
include the person's job or title ¢ ifknown), Attach additional pages if needed.

Page | of 5
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Defendant No. |
Name
Job or Title fif known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address fifknown)

Defendant No. 2
© Name

Job or Title (known)
Street Address
City and County
State and Zip Code
‘Telephone Number
E-mail Address (ifknown)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Cade
Telephone Number
E-mail Address (if known)

Defendant No. 4

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iv Se I Mev. 12/16) Complaint for a Civil Case

i. Basis for Jurisdiction
Federal courts are courts of Hmited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
Federal question [| Diversity of citizenship

~ Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are-at issue in this case. 2% We Code. & AL | Ol, 13. 8 .
Code gll3, Ti. ola sca dheS-5ee

Unsere” 3 2.63 ef XS Bnd #3 D4
B. If the Basis for Jurisdiction Is Diversity of Citizenship C
— wt dB ery

The plaintiff, (ame) , is a citizen of the
State of (name)

 

a. If the plaintiff is an individual

 

 

b. If the plaintiff is a corporation
The plaintiff, name) , is incorporated

 

under the laws of the State of (name) ;

 

and has its principal place of business in the State of (ame)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

 

 

 

 

 

 

 

2, The Defendant(s)
a If the defendant is an individual
The defendant, trae) $8 4) Lf a“ da (i Pp 4 d ’ , isa citizen of
the State of (name) new . Or is a citizen of
(foreign nation) - —

 

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Pro Se i (Rev. 12/ 16) Complaint for a Civil Case

“frees

 

 

b. If the defendant is a corporation
The defendant, (rane) , is incorporated under
the laws of the State of (rame) , and has its

 

principal place of business in the State of frame)

 

Or is incorporated under the laws of (foreign nation) . :

 

and has its principal place of business in (ame)

 

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant}

3. The Amount in Controversy

The amount in controversythe amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages De the amounts, and the ne you claim you are entitled to actual or

punitive money damages. ro LAS, oR tote Ay cer —> See

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Case 1:21-cv-00297-DCN Document1 Filed 07/16/21 Page 14 of 14

Pro Se 1 (Rev, 12/16) Complaint for a Civil Case _.

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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served, I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case,

i
Date of signing: ‘ Or VW / ( VOA
* A
Signature of Plaintiff AA )

Printed Name of Plaintiff v Braun 4 A € [ _t eC”

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attomey

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

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